Case 2:05-cr-20187-SH|\/| Document 9 Filed 06/27/05 Page 1 of 2 Page|D 8

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WESTERN DISTRICT OF TENNESSEE _
Western Division 05 JUN 27 AH m' l 3

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UNITED sTATEs oF AMERICA 1cia i<, ss crst cr
- W.[} C‘l: ~l'i\l, MEMPWS

`VS` ease No. 2:05cr20187-Ma

MILTON JOHNSON

 

ORDER OF DETENTION PENDING TRlAL
FINDINGS
In accordance with the Bail Reforrn Act, 18 U.S.C. § 3142(t), a detention hearing has been
held. The following facts and circumstances require the defendant to be detained pending trial.

No condition or combination of conditions of release will reasonably assure the
safety of any other person and the community

This conclusion is based on the findings and analysis of the matters enumerated in 18 U.S.C.
§ 3142(g) as stated on the record in open court at the detention hearing

DlRECT|ONS REGARD|NG DETENTlON

MILTON JOI'INSON is committed to the custody of the Attorney General or his designated representative
for confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences
or being held in custody pending appeal MILTON JOBNSON shall be afforded a reasonable opportunity for private
consultation with defense counsel. On order of a Coult of the United States or on request of an attorney for the
government, the person in charge of the corrections facility shall deliver the Defendant to the United States marshal for
the purpose of an appearance in connection with a Court proceeding _

Date: June 24, 2005 T_A;Z_L,~`z/\Q"-\

"’ TU'M. PHAM
UNITED sTATEs MAGISTRATE JUDGE

 

Thls document ems-res ne the docket sheet In compliancen

with Ru|e 55 and/or 3.§'§:;} FHCrP on fla `;/K“O$/ 9

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 9 in
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EdWin A. Perry

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

l\/lemphis7 TN 38103

Katrina U. Earley

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Sarnuel Mays
US DISTRICT COURT

